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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


                      UNITED STATES                               )
                             Plaintiff                            )
                                v.                                )      Case No.     1:21-mj-00677
                THOMAS PAUL CONOVER                               )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Thomas Paul Conover                                                                                                 .


Date:          12/17/2021                                                                  /s/ Camille Wagner
                                                                                            Attorney’s signature


                                                                                    Camille Wagner (Bar No. 1659390)
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